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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

USA                                        §
                                           §
vs.                                        §     NO: SA:19-CR-00797(1)-OLG
                                           §
(1) JOSE ANGEL HERNANDEZ                   §

                      ORDER GRANTING CONTINUANCE
                     AND AMENDING SCHEDULING ORDER

      The matters before the court is Defendant’s Unopposed Motion for

Continuance filed Thursday, December 02, 2021 [dkt. #85], after reviewing the

motion, it is the opinion of the Court that the motion should be granted and that the

trial in this case should be and is continued.

        The Court further finds that the period between Tuesday, December 07,

2021 and Monday, February 07, 2022, is a reasonable period of necessary delay to

allow counsel time for preparation for trial and further finds that such period shall

be excluded from the time within which the defendant must be brought to trial and

that the ends of justice served by taking such action outweighs the best interest of

the public and the defendant in a speedy trial under the Speedy Trial Act pursuant

to Title 18, United States Code, Section 3161(h)(7)(A).

      This case shall proceed on the following amended schedules:

      Pursuant to Federal Rules of Criminal Procedure 11(c) and the holding of
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the Fifth Circuit Court of Appeals in United States of America v. Ellis, 547 F.2d

863 (5th Cir. 1977), the deadline for notifying the Court of any plea bargain or

plea agreement entered into by the parties in this cause is Thursday, January 27,

2022. The Court will not accept a plea agreement after the aforementioned

deadline. Should a plea agreement be reached and filed in this case and absent

written objection filed contemporaneously therewith, this case will be referred to a

United States Magistrate Judge for the purpose of administering the plea of guilty

and the Fed. R. Crim. P. 11 allocution, subject to final approval and the imposition

of sentence by the United States District Court.

                           PRETRIAL MATTERS

        Motions in Limine shall be filed on Thursday, January 13, 2022.

        Responses to motions in limine shall be filed on Thursday, January 27,

2022.

        Jury selection and trial are reset for Monday, February 07, 2022 at 9:30 a.m.

in Courtroom C, on the Second Floor of the United States Courthouse, 262 W.

Nueva Street, San Antonio, Texas.

        IT IS FURTHER ORDERED that the Clerk of the Court shall send a

copy of this order to counsel for the defendant, the United States Attorney, the

United States Pretrial Services and the United States Probation Office. Counsel

for the defendant shall also notify the defendant of this schedule and advise the
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defendant that he must be present for all court proceedings unless excused by the

Court.

   Signed this 3rd day of December, 2021

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                                        ORLANDO L. GARCIA
                                        CHIEF U.S. DISTRICT JUDGE
